                 Case
  AO 247 (02/08) Order    6:96-cr-00004-JRH-CLR
                       Regarding Motion for Sentence Reduction   Document 834 Filed 05/29/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                                    forthe
                                                         Southern District of Georgia

                    United States of America
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                                                                      ) Case No: CR696-00004-0
                        Leroy Singleton Jr.
                                                                      ) USMNo: 09106-021
Date of Previous Judgment: October 8, 1996                            ) William Rice
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant flthe Director of the Bureau of Prisons Ethe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDEREI) that the motion is:
         DENIED.         GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of 235       months is reduced to          188 months
1. COURT 1)ETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     36                                            Amended Offense Level:      34
Criminal History Category: I                                              Criminal History Category: I
Previous Guideline Range:   188                 to 235 months             Amended Guideline Range: 151 to 188 months
II. SENTENCE RELATIVE TO AMEN]ED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):




III. ADDITIONAL COMMENTS
The sentence of 188 months is to each of Counts 1 and 15, to be served concurrently.



Except as provided above, all provisions of the judgment dated October 8, 1996,                      shall remain in effect.
IT IS SO ORDERED.

Order Date:        May 29, 2008



                                                                          United States District Judge
EffectiveDate: _______________________                                    For the Southern District of Georgia
                    (if different from order date)                                         Printed name and title
